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4
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6
                             IN THE UNITED STATES DISTRICT COURT
7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
8

9
     UNITED STATES OF AMERICA,               )   Case No.: 2:15-CR-131-TLN
10                                           )
                         Plaintiff,          )   STIPULATION REGARDING EXCLUDABLE TIME
11                                           )   PERIODS UNDER SPEEDY TRIAL ACT;
     vs.                                     )   FINDINGS
12                                           )
     VALDEZ-TORRES et al.,                   )   Date: April 7, 2016
13                                           )   Time: 9:30 a.m.
                         Defendants.         )   Judge: Honorable Troy L. Nunley
14                                           )

15

16          The United States of America through its undersigned counsel,

17   Christiaan Highsmith, Assistant United States Attorney, together with counsel

18   for defendant Shannon Armstrong, John R. Manning, Esq., hereby stipulate the

19   following:

20          1.   By previous order, this matter was set for status conference on

21   April 28, 2016.   Subsequently, on March 8, 2016, this matter was calendared

22   as to all defendants for arraignment on a superseding information.      Mr.

23   Armstrong, who is in custody at the Sacramento Main Jail, was ill and could

24   not be transported to the hearing.    Mr. Armstrong was calendared before this

25   court for March 17, 2016, for arraignment on the superseding information and

26   COP.

27          2.   By this stipulation, the defendant now moves to continue this

28   matter to April 7, 2016 at 9:30 a.m., for arraignment on the superseding
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1    information and COP.     Time was previously excluded to April 28, 2016, under

2    the Local Codes T-2 (unusual and complex) and T-4 (to allow defense counsel

3    time to prepare).

4          3.   The parties agree and stipulate, and request the Court find the

5    following:

6          a. As the court is aware, this is a “wire-tap” case wherein the

7               government was “up on” multiple phone lines (four phone lines).

8               Numerous federal and local law enforcement agencies had been

9               investigating the individuals named in the indictment for several

10              months prior to their respective arrests.   Initially the government

11              produced over 800 pages of discovery and 5 discs containing audio

12              recordings.   On October 27, 2015 the government distributed an

13              additional 33 discs containing search warrant applications, search

14              warrant pictures, and picture/video surveillance.

15         b. Counsel for the defendant needs additional time to review the

16              proposed plea agreement with the defendant and to discuss the

17              relevant USSG calculations and sentencing factors.

18         c. Mr. Armstrong is significantly ill.     Mr. Armstrong has a history of

19              cardiac issues.   Presently, he is suffering from numbness in his

20              left arm, as well as symptoms similar Irritable Bowel Syndrome.

21              Additional time is further necessary to allow the jail to diagnose

22              Mr. Armstrong’s issues and prescribe a course of treatment.

23         d. Counsel for the defendant believes the failure to grant a

24              continuance in this case would deny defense counsel reasonable time

25              necessary for effective preparation, taking into account the

26              exercise of due diligence.

27         e. The government does not object to the continuance.

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1          f. Based on the above-stated findings, the ends of justice served by

2               granting the requested continuance outweigh the best interests of

3               the public and the defendant in a speedy trial within the original

4               date prescribed by the Speedy Trial Act.

5          g. Time was previously excluded under the Speedy Trial Act, 18 United

6               States Code Section 3161(h)(7)(A) within which trial must commence,

7               to April 28, 2016.   Time was excluded to April 28, 2016, pursuant to

8               18 United States Code Section 3161(h)(7)(A) and (B)(ii) and(iv),

9               corresponding to Local Codes T-2 and T-4 because it results from a

10              continuance granted by the Court at the defendant's request on the

11              basis of the Court’s finding that the ends of justice served by

12              taking such action outweigh the best interest of the public and the

13              defendants in a speedy trial.

14         4.   Nothing in this stipulation and order shall preclude a finding that

15   provision of the Speedy Trial Act dictate that additional time periods are

16   excludable from the period within which a trial must commence.

17

18   IT IS SO STIPULATED.

19
     Dated:   March 14, 2016                        /s/ John R. Manning
20                                                  JOHN R. MANNING
                                                    Attorney for Defendant
21                                                  Shannon Armstrong

22
     Dated:   March 14, 2016                        Benjamin B. Wagner
23                                                  United States Attorney

24                                                  by: /s/ Christiaan Highsmith
                                                    Christiaan Highsmith
25                                                  Assistant United States Attorney

26
                                            ORDER
27
     IT IS SO FOUND AND ORDERED this 14th day of March, 2016.
28




                                                 Troy L. Nunley
                                                 United States District Judge
